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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

 

ORACLE AMERICA, INC.,  )

Plaintiff, )

vs. ) No. CV 10-03561 WHA
GOOGLE, INC., )
Defendant. )

 

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Videotaped Federal Rule 30(b) (6) Deposition

of PETER B. KESSLER, Ph.D., taken at 755 Page
Mill Road, Palo Alto, California, commencing
at 9:39 a.m., Thursday, August 4, 2011, before

Leslie Rockwood, RPR, CSR No. 3462.

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position is that the JDK does practice the '205.

Q. BY MR. KAMBER: What is the basis for that
belief?

MS. AGRAWAL: Same objection.

THE WITNESS: Communication with the
attorneys.

Q. BY MR. KAMBER : Do you have any other basis
for the belief that JDK 1.2 practices the asserted claims
of the '205 patent?

MS. AGRAWAL: Same objections.

THE WITNESS: My understanding of the '205
comes from my communications with the attorneys. And
using that information, I can look in the source code.

Q. BY MR. KAMBER: I'm not sure I understand
that answer, Dr. Kessler.

My question is: Do you have any other basis
besides conversations with counsel to believe that JDK
1.2 practices the asserted claims of the '205 patent?

MS. AGRAWAL: Same objections.

THE WITNESS: In addition to information that
I've obtained from the attorneys, I have my reading of
the code.

Q. BY MR. KAMBER: Which code?

MS. AGRAWAL: Same objections.

THE WITNESS: In the case of the ‘205, I

11:03:02

11:03:18

11:03:39

11:03:55

11:04:11

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would think it was the fast_invokevfinal.

QO. BY MR. KAMBER:

there any other code that

Are there any other -- is

you're aware of besides

fast _invokevfinal that Oracle claims practices the '205

patent?

MS. AGRAWAL:

THE WITNESS:

examples of my attorneys’

Same objections.
There may well be other

interpretation of the '205 in

the source code, but the one that I know about is in

fast_invokevfinal.
QO. BY MR. KAMBER:
you're speaking on behalf

A. Yes.

Q. So the only source code that Oracle is taking

Okay. And you -- by "you"

of Oracle here today; correct?

a position on with respect to whether it practices the

'205 patent is the fast_invokevfinal method; correct?

MS. AGRAWAL:

Same objection.

MR. KAMBER: Excuse me. Fast_invokevfinal.

THE WITNESS:

MS. AGRAWAL:

THE WITNESS:

V final.
Same objections.

That's certainly one of the --

so I don't want to limit myself to fast_invokevfinal if

there are other instances.

Q. BY MR. KAMBER:

understand. We're -- I'm

Okay. But I'm trying to

here on behalf of my client to

11:04:46

11:05:07

11:05:23

11:05:37

11:05:55

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Q. BY MR. KAMBER: Is it fair to say that Oracle
can't identify an earlier date of conception for the
invention allegedly set forth in the asserted claims of
the '104 patent?
MS. AGRAWAL: Objection. Form. 16:45:55
THE WITNESS: I do not know of an earlier
date of conception for the '104.
Q. BY MR. KAMBER: Same questions with respect

' to reduction to practice. Is Oracle able to identify any

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date prior to the date of the patent, the filing of the 16:46:16
patent, I should say, at which the inventions allegedly
set forth in the asserted claims of the '104 patent were
reduced to practice?
MS. AGRAWAL: Objection. Form.
THE WITNESS: I do not know of any such 16:46:32
information.
Q. BY MR. KAMBER: Which products implement the
alleged invention of the '104 patent?
MS. AGRAWAL: Objection. Form.
THE WITNESS: There's a list of them on 16:47:05
page 9 of Exhibit 329.
Q. BY MR. KAMBER: Is the list on page 9 of
Exhibit 329 a complete list of the instrumentalities of
Oracle that practice the asserted claims of the '104
reissue patent? 16:47:30
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A. To my knowledge, it is.
Q. What is the basis of that knowledge?

MS. AGRAWAL: Caution the witness not to

reveal attorney-client communications, but to the extent

that you don't, go ahead and answer.
THE WITNESS: For some of them, it's my
examination of the source code; for others, it's

conversations with other engineers.

16:47:46

Q. BY MR. KAMBER: Okay. With respect to -- let

me ask: For which products did you do an evaluation of

the source code for whether it practices the asserted
claims of the '104 reissue patent?

MS. AGRAWAL: Objection. Form.

THE WITNESS: So the JDK is built on top of

the JRE. I examined the source code for the JRE. I

examined the source code for HotSpot. And for the

16:48:06

16:48:37

others, I relied upon the opinions of other engineers who

were more familiar with those source code bases.

Q. BY MR. KAMBER: Which engineers did you speak

to in order to determine whether the instrumentalities
listed on page 9 of Exhibit 329 practiced the asserted
claims of the '104 patent?

MS. AGRAWAL: Objection. Form.

THE WITNESS: There are several different

products listed here that have different engineers. I

16:48:55

16:49:21

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STATE OF CALIFORNIA ) S88:

COUNTY OF MARIN )

TI, LESLIE ROCKWOOD, CSR No. 3462, do hereby
certify:

That the foregoing deposition testimony was
taken before me at the time and place therein set forth
and at which time the witness was administered the oath;

That testimony of the witness and all
objections made by counsel at the time of the examination
were recorded stenographically by me, and were thereafter
transcribed under my direction and supervision, and that
the foregoing pages contain a full, true and accurate
record of all proceedings and testimony to the best of my
skill and ability.

I further certify that I am neither counsel
for any party to said action, nor am I related to any
party to said action, nor am I in any way interested in
the outcome thereof.

IN WITNESS WHEREOF, I have subscribed my name

this 5th day of August, 2011.

LESLIE ROCKWOOD, CSR. NO. 3462

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